Case: 1:07-cv-O4991 Document #: 137 Filed: 09/30/08 Page 1 of 1 Page|D #:874

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
TERRY MARTIN, )
' 'Pl¢a`intiff,¢ f ' " ' ' " ' " ' )
)
vs. )
) Case No.: 07 C 4991
J. QUINN, J.R. MASEY, J.A. KENNY, S.P. )
_COZZO #120, and the CITY OF CHICAGO, ) JUdg€ ROnald A. Guzrnan
Defendants. ) _
' ') Magistrate Judge Susan'E; Cox'

STIPULATION TO DISMISS

IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto, by
their respective attorneys of record, that this matter has been settled pursuant to the executed
Release and Settlement Agreement, and, therefore, this cause should be dismissed With prejudice
and With each party bearing its own costs and attorney fees in accordance With the terms of the
Release and Settlement Agreernent and the Agreed Order of Disrnissal.

Respectfully submitted,
Dykema Gossett PLLC

By: s/ FFM%¢M

One of the Attorneys fc}r%])efendants
Horwitz, Richardson & Bakel;,,'Li;C

By: S/ \ "'"~" m

One by »'e Attorneys for PlaintifF`/

  
 

Terrence M. Burns Blake HorWitz

Paul A. Michalik Elliot S. Richardson

Daniel M. Noland Horwitz, Richardson & Baker LLC
Kimberly D. Fahrbach 20 S. Clark St., Suite 500

Dykema Gossett, PLLC Chicago, IL 60603

10 S. Wacker Dr., Suite 2300 312-676~2100

Chicago, IL 60606
312-876-1700

